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                                                                                 United States District Court
                                                                                   Southern District of Texas

                                                                                      ENTERED
                      IN THE UNITED STATES DISTRICT COURT                          February 10, 2016
                      FOR THE SOUTHERN DISTRICT OF TEXAS                           David J. Bradley, Clerk
                            - BROWNSVILLE DIVISION -

UNITED STATES OF AMERICA                      §
                                              §
VS.                                           §               CRIMINAL NO. B-15-832-4
                                              §
Miguel Athiel Martinez-Zurita                 §

                                           ORDER
       BE IT REMEMBERED on this 10th day of February, 2016, the Court reviewed the file in
the above-captioned matter and specifically the Report and Recommendation of the United
States Magistrate Judge filed November 2, 2015, wherein the defendant Miguel Athiel
Martinez-Zurita waived appearance before this Court and appeared before the United States
Magistrate Judge Ronald G. Morgan for the taking of a felony guilty plea and Federal Rule of
Criminal Procedure Rule 11 Allocution. The Magistrate Judge recommends that the plea of
guilty be accepted by the undersigned, and noting no opposition by defendant Miguel Athiel
Martinez-Zurita to the Report and Recommendation, the Court enters the following order:
       IT IS ORDERED that the Report and Recommendation of the United States Magistrate
Judge is hereby adopted. The Court finds the defendant Miguel Athiel Martinez-Zurita guilty
of the offense of knowingly and intentionally possess with intent to distribute a quantity more
than one hundred (100) kilograms, that is, approximately 310 kilograms (683.43 pounds) of
marihuana, a Schedule I controlled substance, in violation of Title 21, United States Code,
Sections 841(a)(1) and 841(b)(1)(B), and Title 18, United States Code, Section 2 as charged in
Count Two of the Indictment.


       SIGNED this the 10th day of February, 2016.


                                           ____________________________________
                                                        Rolando Olvera
                                                   United States District Judge
